  8:06-cr-00090-JFB-FG3        Doc # 23     Filed: 04/25/06     Page 1 of 1 - Page ID # 37




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )              Case No. 8:06CR90
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )                     ORDER
SCOTT A. BROOKS,                               )
                                               )
                     Defendant.                )


       This case is before the court on the defendant’s Motion to Reconsider Conditions
of Pretrial Release [21]. After consideration of the motion and reviewing the March 30,
2006 initial appearance Pretrial Services report, the motion is denied.
       The proposed placement of the defendant at Williams Prepared Place fails to
adequately address the Court’s concerns contained in the March 30, 2006 Detention Order
[13]. The proposed placement does not significantly address the defendant’s prior criminal
history, or his noncompliance with previous court orders, and would not, given his prior
record, result in an adequate level of supervision. In reaching this conclusion, I specifically
considered the defendant’s extensive prior record, which includes two prior felony drug
convictions and his failures to appear. Additionally, I would note that the proposed plan of
release fails to rebut the presumption of detention under 18 U.S.C. § 3142(e).
       IT IS ORDERED:
       1. The defendant’s Motion to Reconsider Conditions of Release [21] is denied
without hearing.
       Dated this 25th day of April 2006.


                                            BY THE COURT:



                                            S/ F. A. Gossett
                                            United States Magistrate Judge
